08-13555-mg   Doc 22254-4   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit D
                                   Pg 1 of 4




                            EXHIBIT D
08-13555-mg   Doc 22254-4   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit D
                                   Pg 2 of 4
08-13555-mg   Doc 22254-4   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit D
                                   Pg 3 of 4
08-13555-mg   Doc 22254-4   Filed 11/17/11 Entered 11/17/11 12:12:05   Exhibit D
                                   Pg 4 of 4
